 8:05-cr-00381-LSC-SMB            Doc # 21   Filed: 12/02/05     Page 1 of 1 - Page ID # 29




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                         )
                                                  )            8:05CR381
                     Plaintiff,                   )
                                                  )
       vs.                                        )               ORDER
                                                  )
ANGELA D. HARMS,                                  )
                                                  )
                     Defendant.                   )



       The defendant has been accepted in the NOVA Theraputic Community for treatment.
The United States Marshal is directed to provide the defendant with a thirty (30) day supply
of the prescribed medication.
       IT IS SO ORDERED.
       DATED this 2nd day of December, 2005.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
